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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                              :
IN RE NATIONAL FOOTBALL                       :       No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION                    :
INJURY LITIGATION                             :       MDL No. 2323
                                              :
                                              :
THIS DOCUMENT RELATES TO:                     :
All Actions                                   :
                                              :


                                 CERTIFICATE OF SERVICE


       I hereby certify that on May 8, 2012, I caused the foregoing Report of the Plaintiffs’

Executive Committee and Plaintiffs’ Steering Committee Regarding Leadership Appointments,

and Proposed Case Management Order No. 3, to be served via the Electronic Case Filing (ECF)

system in the United States District Court for the Eastern District of Pennsylvania, on all parties

registered for CM/ECF in the above captioned matter.



                                                      /s/ Jeannine M. Kenney
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